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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANCESTRY.COM OPERATIONS INC.,                  )
ANCESTRY.COM DNA, LLC,                         )      Case No:
                                               )
                        Plaintiffs,            )      Principal Litigation pending in the
                                               )      United States District Court for the
                                               )      Southern District of Ohio
                v.                             )      Civil Action No. 1:15-cv-00737-SSB-SKB
                                               )
                                               )
DNA DIAGNOSTIC CENTER, INC.,                   )
                                               )
                        Defendant.             )

                  MOTION TO COMPEL NON-PARTY GROUPON, INC.,
                 TO RESPOND TO SUBPOENA SERVED ON JULY 1, 2016

         Ancestry.com Operations Inc. and Ancestry.com DNA, LLC (collectively referred to as

“Ancestry”) respectfully request that the Court compel non-party Groupon, Inc. (“Groupon”) to

respond in full to Ancestry’s Subpoena to Produce Documents served July 1, 2016 (“the

Subpoena”, attached as Exhibit A) pursuant to Federal Rule of Civil Procedure 45. In support of

this Motion, Ancestry submits the following.

                                        INTRODUCTION

         Currently pending in the United States District Court of the Southern District of Ohio is a

case initiated by Ancestry against Defendant DNA Diagnostic Center, Inc (“DDC”). In the case,

Ancestry alleged, inter alia, claims for trademark infringement and unfair competition.

Discovery is ongoing. In further support of its claims, Ancestry served a subpoena on July 1,

2016, on Groupon for, among other things, documents showing that DDC and Groupon created

consumer confusion through their advertisements of DDC’s “AncestrybyDNA” products and

services. Groupon received the subpoena but has not yet fully complied.




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       Ancestry has made repeated attempts, as required by Local Rule 37.2, through email and

telephone correspondence with Groupon’s outside counsel in an effort to resolve this matter

without the Court’s intervention. To date, Groupon has refused to fully respond to Ancestry’s

July 1, 2016 Subpoena, thus necessitating this Motion.

       Groupon failed to timely move to quash the Subpoena and this Court should therefore

grant Ancestry’s motion as a matter of procedure. See Jallali v. Nova Se. Univ., No. 11 C 8115,

2012 WL 2368322, at *3 (N.D. Ill. June 21, 2012) (finding courts in this district have held that in

order to be “timely” under Rule 45(c)(3)(A), a motion to quash a subpoena must be filed on or

before the date of compliance).     Groupon also failed to timely object to the subpoena in

accordance with Fed. R. Civ. P. 45(d)(2)(B), which required that Groupon serve any objections

“before the earlier of the time specified for compliance (extended to August 12, 2016) or 14

days after the subpoena is served” (emphasis added). Thus, Groupon was required to serve any

objections to Ancestry's subpoena by July 15, but did not. Fed R. Civ. P. 45(d)(2)(B). Although

Groupon has acknowledged that it has thousands of responsive, non-privileged documents in its

possession, which would not be unduly burdensome to produce, Groupon only made a very

limited document production on August 12, 2016, which included a short cover letter that did not

inform Ancestry of any specific objections and provided only a few general objections. (See

August 12, 2016 Letter, attached as Exhibit B).

       To date, Groupon has produced approximately 35 pages of responsive documents, but

admits to having thousands of additional responsive, non-privileged documents in its possession.

Discovery is needed from Groupon because it possesses documents relevant to the pending

above-captioned case between Ancestry and DDC (hereinafter the “Litigation”). Ancestry’s

claims against DDC in the Litigation include claims for trademark infringement, unfair



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competition, and breach of contract -- all stemming in part from DDC’s use of Ancestry’s

registered trademarks in Groupon advertisements. Ancestry’s subpoena seeks four types of

documents: (a) the advertisements at issue; (b) consumer complaints sent to Groupon about the

advertisements at issue, (c) communications between Groupon and DDC concerning the

creation, planning, and drafting of the Groupon advertisements and concerning Ancestry’s

trademarks; and (d) evidence of actual consumer confusion caused by DDC’s and Groupon’s

collective actions.

       Groupon has already performed a search and has admitted that it possesses documents

sought by the Subpoena including, but not limited to: (a) approximately 14,000 “consumer

complaint tickets” that concern Groupon's advertisements for DDC’s products; (b)

communications between at least eight Groupon employees and DDC concerning the

advertisements; and (c) copies of the Groupon advertisements at issue. Groupon has provided no

reasonable basis for failing to fully comply with the Subpoena, despite Ancestry granting

Groupon an extension of time to respond and conferring with Groupon in good faith. The

discovery deadline in the underlying Litigation is quickly approaching and Ancestry needs

Groupon’s documents in advance of Groupon’s anticipated deposition.

       Accordingly, Ancestry requests that this Court grant its Motion to Compel and order

Groupon to fully and completely respond to that Subpoena by producing the requested

documents because Ancestry’s requests are narrowly tailored to obtain highly relevant

information that is necessary for the Ohio District Court’s consideration of the claims in the

underlying Litigation.




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                  STATEMENT OF FACTS AND PROCEDURAL HISTORY

         Ancestry served the Subpoena on non-party Groupon on July 1, 2016. As set forth in the

Subpoena, Groupon’s deadline to provide responsive documents was July 22, 2016. (See Exhibit

A.) Pursuant to Fed. R. Civ. P. 45(d)(2)(B), Groupon’s deadline to serve objections was July 15,

2016. Groupon did not serve any objections until August 12, 2016, at which point it served only

a few sentences of non-specific, “general” objections that were set forth in a cover letter to

Ancestry’s counsel. (See Exhibit B.)1 Ancestry agreed to allow Groupon until August 12, 2016,

to produce responsive documents. However, when Groupon finally did respond on August 12,

2016, Groupon produced only 33 pages of documents.

         At the time Groupon made its production on August 12, 2016, Groupon’s paralegal

overseeing the production acknowledged that its production was incomplete and assured

Ancestry that more documents were forthcoming, stating: “as discussed, we will supplement our

response shortly.” (See Exhibit B.) For example, Groupon’s paralegal indicated that complete

records regarding the revenues that Groupon received from the advertisements were in her

possession, but that she did not have authorization to send them, even if they were designated as

“attorney’s eyes only” or “confidential” under the protective order entered in the Litigation.

Groupon’s employee also indicated over the telephone that Groupon had an unusually high

volume of consumer complaints related to DDC’s Groupon advertisements, yet none have been

provided. These consumer complaints are only in possession of Groupon and go to the heart of

the issues in the Litigation. Despite multiple subsequent conversations with Groupon’s outside

counsel concerning the deficiencies in an attempt to resolve this issue without the Court’s

involvement, Groupon has still refused to complete its production.



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    Groupon also never executed the required Declaration of Records Custodian.
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        This Court’s intervention is urgently needed to ensure Groupon’s compliance with

Ancestry’s Subpoena. To date, Groupon still owes Ancestry the following documents, all of

which bear directly on Ancestry’s claims against DDC in the Litigation:

       All documents sufficient to identify each and every advertisement that Groupon
        published, distributed or marketed in any manner for DDC’s “AncestrybyDNA”
        products/services, from January 1, 2011 to the present. Ancestry needs to be able to
        identify each advertisement that ran, how much revenue was generated by each
        advertisement, how many products were sold in connection with each advertisement, and
        during what time period the advertisement ran. Groupon has provided Ancestry a small
        piece of this information, but has not made a complete production.

       All documents and communications between Groupon and DDC, from January 1, 2011
        and the present, concerning: (1) creating, planning, drafting, editing, revising, or
        finalizing any advertisement or marketing for the “AncestrybyDNA” products/services;
        and (2) Ancestry, its products/services, or its trademarks. These are narrow requests and
        Groupon has acknowledged that producing the responsive documents would not be
        unduly burdensome.

       All documents and communications evidencing consumer complaints, reviews, or
        correspondence that Groupon received, from January 1, 2011 to the present, concerning
        any “AncestrybyDNA” advertisements where the customer (1) mentioned Ancestry, its
        products/ services, or its trademarks; or (2) stated in any way that they had not received
        the product/service they expected, or the type of product/service they expected.

(See Exhibit A.)

                                     LEGAL ARGUMENT

        Groupon failed to timely move to quash the Subpoena, and the Court should therefore

grant Ancestry’s motion as a matter of procedure. See Jallali, supra; see also Central States, Se.

& Sw. Areas Pension Fund v. GWT 2005 Inc., No. 06 CV 1205, 2009 WL 3255246, at *1 (N.D.

Ill. Oct. 6, 2009) (holding similarly); Flagstar Bank, FSB v. Freestar Bank, N.A., No. 09 CV

1941, 2009 WL 2706965, at *3 (N.D. Ill. Aug. 25, 2009) (holding similarly).

        However, even assuming arguendo that Groupon is entitled to move to modify the

subpoena at this late date, there is no legal basis for them to do so. In evaluating discovery

sought from a non-party, the Court may only modify or quash a subpoena if it subjects the non-

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party to an undue burden, such that the “burden of compliance” outweighs “the benefit of

production of the material sought by it.” Pac. Century Int'l, Ltd. v. Does 1-37, 282 F.R.D. 189,

193 (N.D. Ill. 2012) (quoting Nw. Mem'l Hosp. v. Ashcroft, 362 F. 3d 923, 927 (7th Cir. 2004)).

The Court considers the following factors in making this determination: (1) the needs of the case;

(2) the amount in controversy; (3) the parties’ resources; (4) the importance of the issues at stake

in the litigation; and (5) the importance of the proposed discovery in resolving the issues. Id.

(internal citations omitted). The non-party opposing the subpoena bears the burden of proving

that the discovery sought is “overly broad, unduly burdensome, or not relevant.” Id.

       These five factors unequivocally weigh in favor ordering Groupon to fully comply with

the subpoena by immediately producing all documents responsive to Ancestry’s requests, as

explained below.

       1. Needs of the Case. Copies of each advertisement and consumer complaints regarding

the Groupon advertisements at issue are only within Groupon’s possession and control and are

crucial to Ancestry’s claims. Evidence that the Groupon advertisements confused consumers

and resulted in persons mistakenly purchasing DDC’s products, believing that they were

purchasing Ancestry’s products, is precisely why Ancestry initiated the Litigation against DDC.

Evidence of actual consumer confusion is one of the factors that the Ohio District Court will

consider in determining Ancestry’s claims. In addition, Groupon’s and DDC’s knowledge of the

consumer confusion and of Ancestry’s trademark rights is relevant to whether the advertising

was done in bad faith, which is another factor that the Ohio District Court will consider in

evaluating Ancestry’s trademark claims. In sum, the needs of the case strongly favor granting

Ancestry’s motion ordering Groupon’s full compliance with the Subpoena here.




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       2. The Amount in Controversy. In addition to the irreparable harm that Ancestry alleges

DDC’s actions have caused that is the result of DDC’s trademark infringement and unfair

competition, Ancestry’s undetermined actual damages are excessive, based upon the volume of

sales sold as a result of DDC’s and Groupon’s confusing advertisements. It will be impossible

for Ancestry to fully establish the extent of its damages without the requested discovery from

Groupon. Groupon has not confirmed what advertisements it ran for DDC, when they ran, and

the revenues generated by those advertisements.

       3. The Parties’ Resources.    Groupon has significant resources and will not be unduly

burdened by responding to Ancestry’s reasonable requests. Unlike Ancestry, Groupon is a

publicly traded company (traded on the NASDAQ stock exchange), has a market capitalization

of $2.36 billion, and on October 27, 2016, announced that it intends to acquire one of its largest

competitors, LivingSocial. Moreover, Groupon already performed the search and seems to have

the additional responsive documents in hand. Thus, responding to Ancestry’s narrow requests

will not unduly burden Groupon.

       4. The importance of the issues at stake in the Litigation.       The touchstone of any

trademark infringement or false advertising case is the protection of the consumer from being

confused. In the Litigation, Ancestry has already obtained information from DDC’s production

that its Groupon advertisements have caused profound consumer confusion and continue to cause

such confusion. Groupon has itself acknowledged that it has significant evidence of consumer

confusion and consumer complaints related to DDC’s Groupon advertisements that are only in

Groupon’s possession, and that Groupon’s production of these documents would not be unduly

burdensome.




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       5. The importance of the proposed discovery in resolving the issues. Evidence of “actual

consumer confusion” is the most persuasive evidence of whether a likelihood of confusion

results from a defendant’s use of an allegedly infringing trademark.      As stated above, the

evidence in Groupon’s possession is vital to the Ohio District Court’s assessment of Ancestry’s

claims in the underlying Litigation.

       Accordingly, Ancestry is entitled to an order compelling the production of the additional

documents in full compliance with its July 1, 2016 Subpoena as Ancestry’s requests are narrowly

tailored to obtain highly relevant information that is necessary for the Ohio District Court’s

consideration of the claims in the Litigation. Responding to Ancestry’s Subpoena will not

unduly burden Groupon. See Ligas v. Maram, No. 05 C 4331, 2007 WL 4225459, at *3 (N.D.

Ill. Nov. 27, 2007) (granting motion to compel production from third-party where subpoena was

reasonably calculated to lead to discovery of admissible evidence and compliance would not

impose an undue burden on third-party).

                                         CONCLUSION

       For the reasons set forth above, Ancestry respectfully requests that this Court grant its

Motion to Compel and order Groupon to produce the requested documents within the next

fourteen (14) days.




October 28, 2016                       Respectfully submitted,

                                              /s/ John H. Scheid, Jr.
                                              One of Its Attorneys

                                       John H. Scheid, Jr.
                                       Illinois Bar No. 6226015
                                       PRETZEL & STOUFFER, Chartered
                                       1 South Wacker Drive, Suite 2500

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                          Chicago, IL 60606
                          (312) 578-7503 (phone)
                          (312) 346-8242 (fax)
                          jscheid@pretzel-stouffer.com

                          and

                          Jordan A. LaVine, Esq.
                          Alexis K. Arena, Esq.
                          Eric Clendening, Esq.
                          FLASTER/GREENBERG P.C.
                          1835 Market Street, Suite 1050
                          Philadelphia, PA 19103
                          (215) 279-9389

                          Attorneys for Plaintiffs Ancestry.com Operations Inc. and
                          Ancestry.com DNA, LLC




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                               CERTIFICATE OF SERVICE

       A copy of Defendants’ MOTION TO COMPEL NON-PARTY GROUPON, INC.,
TO RESPOND TO SUBPOENA SERVED ON JULY 1, 2016, was filed electronically this
28th day of October, 2016. Notice of this filing will be sent to all parties by operation of the
Court’s electronic filing system. Parties may access this filing through the court’s electronic
system.

ATTORNEYS FOR DEFENDANT

David B. Cupar, Esq.
McDonald Hopkins LLC
600 Superior Avenue East, Suite 2100
Cleveland, OH 44114
dcupar@mcdonaldhopkins.com

ATTORNEYS FOR GROUPON, INC.

Eric J. Maiers
Greenberg Traurig, LLP
77 West Wacker Drive, Suite 3100
Chicago, IL 60601
(312) 456-1036 (phone)
(312) 899-0383 (fax)
maierse@gtlaw.com


                                                    Respectfully submitted,

                                                           /s/ John H. Scheid, Jr.
                                                           One of Its Attorneys

                                                    John H. Scheid, Jr.
                                                    Illinois Bar No. 6226015
                                                    PRETZEL & STOUFFER, Chartered
                                                    1 South Wacker Drive, Suite 2500
                                                    Chicago, IL 60606
                                                    (312) 578-7503 (phone)
                                                    (312) 346-8242 (fax)
                                                    jscheid@pretzel-stouffer.com

                                                    and

                                                    Jordan A. LaVine, Esq.
                                                    Alexis K. Arena, Esq.
                                                    Eric Clendening, Esq.

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                                          FLASTER/GREENBERG P.C.
                                          1835 Market Street, Suite 1050
                                          Philadelphia, PA 19103
                                          (215) 279-9389 (phone)
                                          (215) 279-9394 (fax)
                                          Jordan.lavine@flastergreenberg.com
                                          Alexis.arena@flastergreenberg.com


                                          Attorneys for Plaintiffs Ancestry.com
                                          Operations Inc. and Ancestry.com DNA,
                                          LLC




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               EXHIBIT A
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                                                                                      Four Penn Center
                                                                                      1600 John F. Kennedy Boulevard
                                                                                      2nd Floor
                                                                                      Philadelphia, PA 19103
                                                                                      (215) 279-9393
                                                                                      Fax: (215) 279-9394
ATTORNEYS AT LAW • A PROFESSIONAL CORPORATION
                                                                                      www.flastergreenberg.com



                                                           ALEXIS ARENA, ESQUIRE
                                                           Member of the NJ and PA Bar
                                                           Direct Dial: (215) 279-9908
                                                           E-Mail: alexis.arena@flastergreenberg.com
                                                           PLEASE RESPOND TO PHILADELPHIA
                                                July 1, 2016

  VIA HAND DELIVERY
  Groupon, Inc.
  Attn: Officer, Managing or General Agent
  600 W. Chicago Avenue
  Chicago, IL 60654

             Re: Ancestry.com Operations Inc. and Ancestry.com DNA, LLC vs. DNA Diagnostic
                 Center, Inc.
                 Case No: 1:15-cv-00737-SSB-SKB

  Dear Sir/Madam:

        Please be advised that our office represents the Plaintiffs, Ancestry.com Operations Inc.
  and Ancestry.com DNA, LLC, in the above referenced matter.

          Enclosed is a Subpoena To Produce Documents. At this time, I do not anticipate needing
  you to appear in person in connection with this subpoena, provided you sign and return the
  enclosed declaration together with the requested documents to Attn: Danny Kach,
  Flaster/Greenberg, P.C., c/o LearnCore, 222 N. LaSalle, Suite 1550, Chicago, IL 60601, by July
  22, 2016.

              Please feel free to contact me if you have any questions or concerns with respect to this
  matter.

                                                   Very truly yours,

                                                   FLASTER/GREENBERG P.C.



  AA/ldu                                      Alexis Arena
  Enclosures
  cc:    David B. Cupar, Esquire (w/encls., via e-mail and regular mail)
         Matthew J. Cavanaugh, Esquire (w/encls., via e-mail and regular mail)
         Paul Jason Linden, Esquire (w/encls., via e-mail and regular mail)




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                                          SCHEDULE A

         The following Definitions and Instructions form an integral part of each request and must

be read in conjunction therewith.

                                          DEFINITIONS

         1.     “You,” “Your,” or “Groupon” means Groupon, Inc., any other name by which

the company is known, or through which it is acting or doing business, its officers, directors,

employees, representatives and agents, and its past or present affiliates, predecessors and

successors, and its officers, directors, employees, representatives and agents, and all

representatives, consultants or others acting with authority on their behalf.

         2.     “DDC” means Defendant DNA Diagnostic Center, Inc., and all of its officers,

directors, employees, representatives and agents, and its past or present affiliates, predecessors

and successors, and its officers, directors, employees, representatives and agents, and all

representatives, consultants or others acting with authority on its behalf.

         3.      “Ancestry” means Plaintiffs Ancestry.com Operations Inc. and Ancestry.com

DNA, LLC and all of their officers, directors, employees, representatives and agents, and their

past or present affiliates, predecessors and successors, and their officers, directors, employees,

representatives and agents, and all representatives, consultants or others acting with authority on

their behalf.

         4.     Document. The term "document" is defined to be synonymous in meaning and

equal in scope to the usage of this term in Federal Rules of Civil Procedure 34(a). A draft or

non-identical copy is a separate document within the meaning of this term.

         5.     Identify (With Respect to Persons). When referring to a Person, "to identify"

means to give, to the extent known, the person's full name, present or last known home and



 
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business address, and when referred to a natural person, additionally, the present or last known

place of employment and job title or description, and if employed by You, their dates and regular

places of employment. Once a Person has been identified in accordance with this subparagraph,

only the name of that person need be listed in response to subsequent discovery requesting the

identification of that person.

         6.    Identify (With Respect to Documents). When referring to documents, "to

identify" means to give, to the extent known, the (i) type of document; (ii) general subject

matter; (iii) date of the document; and (iv) author(s), address(es) and recipient(s).

         7.    Identify (With Respect to a Company). When referring to a company or the

response to an interrogatory or document request would require the identification of a company,

it is requested that the company be identified by stating its full corporate name, a brief

description of the general nature of its business, its state of incorporation, the address and

principal place of business, and the identity of the officers or other person(s) having knowledge

of the matter with respect to which the company has been identified.

         8.    Person. The term "person" is defined as any natural person or any business, legal

or governmental entity or associate.

         9.    All/Each. The terms "all" and "each" shall be construed as all and each.

         10.   And/Or. The connectives "and" and "or" shall be construed either disjunctively

or conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

         11.   Number. The use of the singular form of any word includes the plural and vice

versa.




 
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         12.    “Related to” means directly or indirectly, in whole or in part, referring to, relating

to, connected with, commenting on, impinging or impacting upon, supporting, contradicting,

establishing, affecting, prepared in connection with, responding to, analyzing, reflecting or

constituting.

                                         INSTRUCTIONS

         1.     In producing documents in response to this request, You are required to furnish all

documents in your possession, custody, or control that are known or available to You, regardless

of whether those documents are possessed by You, or by any agent, attorney, representative, or

employee. Documents to be produced include, without limitation, any responsive document that

was or is prepared, kept, or maintained for the personal use, in the personal files, or as the

personal property of any affiliate or any representative of the person responding hereto. You

must make a diligent search of Your records and of other papers and materials in your possession

or available to You or Your attorneys or other representatives.

         2.     When responding to this request for production of documents, You are requested

to respond in writing and state as to each of the requests (a) that there are documents responsive

to the request, and that they will be produced; (b) that there are documents responsive to the

request, but that You refuse to produce them because of a claim of privilege or for some other

reason; or (c) that there are no documents responsive to the request.

         3.     As to any document called for in this request that no longer exists, but that You

are aware existed at one time, please identify such document and, in addition, identify the last

known location and the reason such document is no longer in existence.

         4.     Unless otherwise defined, all words and phrases used herein shall be accorded

their usual meaning and shall be interpreted in their common, ordinary sense.



 
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         5.    A request for any document shall be deemed to include a request for all actual,

proposed, or contemplated drafts or mark-ups thereof, revisions, modifications, or amendments

thereto, non-identical copies thereof, envelopes, transmittal sheets, emails, cover letters, exhibits,

enclosures, or attachments in addition to the document itself.

         6.    If any document responsive to any of the document production requests contained

herein is withheld from production on the ground that such document is privileged or otherwise

protected from discovery in whole or in part, then (i) the purportedly protected document shall be

identified by its date, author, recipients, and present location and custodian, the persons to whom

copies were furnished together with their job titles, its nature (for example, memorandum, report,

chart, letter, etc.), and its subject matter; (ii) the nature and basis of the claim that such document

is privileged or otherwise protected from discovery shall be stated, by its date, author, recipients,

nature (for example, memorandum, report, chart, letter, etc.), and subject matter, with sufficient

particularity and in sufficient detail to permit the Court to rule on the claim that such document is

privileged or otherwise protected from discovery; and (iii) all portions of such document that are

not claimed to be privileged or otherwise protected from discovery shall be produced.

         7.    If any document production request contained herein is claimed to be

objectionable, then (i) the portion of such document production request claimed to be

objectionable shall be identified, and the nature and basis of the objection shall be stated with

sufficient particularity and in sufficient detail to permit the Court to rule on the validity of the

objection; (ii) any document withheld from production pursuant to such objection shall be

identified with sufficient particularity and in sufficient detail to permit the Court to determine

that such document falls within the scope of such objection; and (iii) documents shall be




 
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produced in response to any portion of such document production request that is not claimed to

be objectionable.

         8.   You are requested to submit an affidavit of compliance, stating: (a) the name and

address of the person or persons who made the search of your files for the documents called for

herein, and the location of the files searched; (b) that a complete and comprehensive search was

made for the documents called for herein; (c) that all responsive documents which are responsive

to the demand, except those that You claim are privileged, have been produced; and (d) that the

documents produced are authentic and genuine documents.

                                 DOCUMENT REQUESTS

         1.   All Documents and communications related to DDC’s “AncestrybyDNA”

products/services between You and DDC from January 1, 2011, to present.

         2.   All Documents and communications related to contracts for any work that You

performed for DDC relating to its “AncestrybyDNA” products/services from January 1, 2011, to

present.

         3.   All Documents sufficient to identify Your annual revenues related to the

"AncestrybyDNA" products/services from January 1, 2011, to present.

         4.   All Documents sufficient to identify the breakdown and distribution of profits

and/or revenues between You and DDC relating to the “AncestrybyDNA” products/services.

         5.   All Documents and communications related to Ancestry, its products/services, or

its trademarks, between You and DDC from January 1, 2011, to present.

         6.   All Documents and communications related to creating, planning, drafting,

editing, revising, or finalizing any advertisement or marketing for the “AncestrybyDNA”

products/services between You and DDC from January 1, 2011, to present.



 
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         7.    All Documents sufficient to identify each and every advertisement that You

published, distributed, or marketed in any manner for DDC’s “AncestrybyDNA”

products/services, from January 1, 2011, to present.

         8.    All Documents and communications of any consumer complaints, reviews, or

correspondence that You received, from January 1, 2011, to present, for any “AncestrybyDNA”

advertisements where the customer (i) mentioned Ancestry, its products/services, or its

trademarks, or (ii) stated in any way that they had not received the product/service they had

expected, or the type of product/service they expected.




 
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FLASTER/GREENBERG P.C.
By: Alexis K. Arena, Esquire
alexis.arena@flastergreenberg.com
1600 JFK Boulevard, 2nd Floor
Philadelphia, PA 19103
(215) 279-9908 (Telephone)
(215)279-9394 (Facsimile)
Attorney for Plaintiffs

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO

ANCESTRY.COM OPERATIONS INC.,
ANCESTRY.COM DNA, LLC,
                                                     CIVIL ACTION NO. 1:15-cv-00737-SSB-SKB
                              Plaintiff,

v.

DNA DIAGNOSTIC CENTER, INC.,

                              Defendant.

             DECLARATION OF RECORDS CUSTODIAN FOR GROUPON, INC.

         I am the Records Custodian for Groupon, Inc. I have authority to certify to the attached

records, and declare as follows:

                (a)     A careful search of the record(s) has been made by me and/or under my

direction in response to the July 1, 2016 subpoena issued by counsel for Plaintiffs, Ancestry.com

Operations Inc. and Ancestry.com DNA, LLC.

                (b)     The record(s) provided with this declaration constitute true and correct

copies of documents that were in my custody and were kept in the course of regularly conducted

business activities as a regular practice of Groupon, Inc. and consist of ______ pages.

         I declare under penalty of perjury that the foregoing is true and correct.

                Executed on: ____________________, 2016



                                                       __________________________________

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               EXHIBIT B
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